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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JOHN MCGINLEY,
17-cv-2182 (JGK)
Plaintiff,
MEMORANDUM OPINION
- against - AND ORDER

 

ANDREW SAUL, Commissioner of the
Social Security Administration,

Defendant.

 

JOHN G. KOELTL, District Judge:

The Court has received an application for attorney’s fees,
filed by plaintiff’s counsel, Lewis B. Insler, pursuant to 42
U.S.C. § 406(b), after the matter was favorably concluded,
following an order from this Court remanding the case to the
Social Security Administration. ECF Nos. 25-26. The application is
reasonable: The amount of fees requested, the contingent-fee
agreement, and the de facto hourly rates are all appropriate.
Further, the government has not raised any objections to the
amount, contingent-fee agreement, or hourly rate. ECF No. 27.

As the government notes in their letter, the plaintiff’s fee
application was filed beyond the time limit set forth in Sinkler v.
Berryhill, 932 F.3d 83, 89 (2d Cir. 2019) (holding that Fed. R. Civ.
P. 54(d) (2) (B)’s 14-day filing period applies to section 406 (b)
attorney’s fees applications). However, the Sinkler court noted that
district courts may “enlarge” the filing period “where circumstances

warrant,” because Rule 54 “expressly states that the specified period

 
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applies ‘[u]nless a statute or a court order provides otherwise.
Id. at 89 (quoting Fed. R. Civ. P. 54(d) (2) (B)}).

The plaintiff’s attorney has requested that this Court find
that circumstances here warrant extending the filing deadiine and
treating the petition as timely, because he is “Of Counsel” to,
and without a physical office in, the Hermann Law Group, where the
July 6, 2019 Notice of Award Letters were mailed, and thus did not
learn of the Notice until March 25, 2020, when Mr, Hermann
consulted him about a fee-related question. ECE No. 25, p. 3.
Although the period of delay is longer than that in Sinkler, the
petitioner has represented that he was not informed of the
decision until March 25, 2020, whereafter he promptly filed the
petition. The Court accepts this justification and finds extending
the filing period warranted under the circumstances.

Therefore, the plaintiff’s application for attorney’s fees in
the amount of $12,500 pursuant to section 406(b) is granted. The

Clerk is directed to close Docket No. 25 and to close this case.

SO ORDERED.

Dated: New York, New York

October 19, 2020 i

— John G. Koeltl
USDS SDNY - “ United States District Judge

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